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9
      Attorneys for Plaintiff LDR INTERNATIONAL LIMITED, a British Virgin Island
10    corporation
11
12                              UNITED STATES DISTRICT COURT
13               CENTRAL DISTRICT OF CALIFORNIA—SOUTHERN DIVISION
14
15    LDR INTERNATIONAL LIMITED, a                  ) Case No.
      British Virgin Island corporation;            )
16                                                  ) COMPLAINT FOR:
                   Plaintiff,                       )
17                                                  )   (1) BREACH OF WRITTEN CONTRACTS
            v.                                      )
18                                                  )   (2) FRAUD
      SARA JACQUELINE KING, an                      )
19    individual, and KING FAMILY                   )   (3) CIVIL THEFT (CAL. PENAL CODE §
      LENDING LLC, a California limited             )       496)
20    liability company;                            )
                                                    )   (4) ACCOUNT STATED
21                 Defendants.                      )
                                                    ) DEMAND FOR JURY
22                                                  )
                                                    )
23
24          Plaintiff LDR INTERNATIONAL LIMITED (“Plaintiff”) alleges as follows:
25                                         THE PARTIES
26          1.     Plaintiff is a business entity incorporated in the British Virgin Islands with
27    its principal place of business in the British Virgin Islands.
28          2.     Defendant Sara Jacqueline King (“King”) is an individual residing in

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1     Orange County, California. King is an attorney licensed to practice law in the State of
2     California, State Bar Number 299115, and is a partner at the law firm King Reuben,
3     P.C., 220 Newport Center Dr., 11-240, Newport Beach, CA 92660.
4           3.      Defendant King Family Lending LLC (“King Lending”) is a California
5     limited liability company formed on February 7, 2020, with its principal place of
6     business in Orange County, California. King is the manager, president, and, upon
7     information and belief, the sole member of King Lending. King Lending’s agent for
8     service of process, Attorneys Corporation Service, Inc., filed a Resignation of Agent for
9     Service of Process with the California Secretary of State on July 25, 2022, and King
10    Lending has no agent for service of process.
11          4.      King Lending was previously licensed as a finance lender by the California
12    Department of Financial Protection & Innovation (“DFPI”) under license number
13    60DBO-126664, but its license status became inactive under that license number on
14    November 17, 2020. King Lending then became licensed as a finance lender by the
15    DFPI under license number 60DBO-111951 effective November 17, 2020, and its
16    license status became inactive under that license number on April 19, 2022.
17          5.      Plaintiff is informed and believes, and thereon alleges, that at all times
18    mentioned in this Complaint, Defendants, and each of them, were the partners, joint
19    venturers, agents, employees, alter egos, and representatives of each other in doing the
20    things herein alleged and, in doing so, were acting within the scope of their respective
21    authorities as agents, employees and representatives, and are jointly and severally liable
22    to Plaintiff. Plaintiff is informed and believes, and thereon allege, that King and King
23    Lending are alter egos of each other and that King Lending is so organized and
24    controlled by King and its affairs and business are so conducted as to make it a mere
25    instrumentality and alter ego of King. Plaintiff is informed and believe that King
26    Lending:
27               a. has commingled funds and other assets with King,
28               b. has failed to segregate funds,

                                                      2
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1                 c. that there have been unauthorized diversion of corporate/business funds
2                    and assets to other than corporate/business uses,
3                 d. that King has treated the assets of King Lending as her own,
4                 e. that there has been a failure to maintain minutes and adequate corporate
5                    records,
6                 f. that King Lending has been used as a mere shell, instrumentality or conduit
7                    for King,
8                 g. there has been a disregard of legal formalities and the failure to maintain
9                    arm’s length relationship between King Lending and King,
10                h. there has been a use of the corporate entity as a shield against personal
11                   liability of King, and
12                i. there has been the use of the corporate entity as a subterfuge for illegal
13                   transactions, including those at issue in this action.
14                                  JURISDICTION AND VENUE
15           6.      This Court has original subject matter jurisdiction over this action pursuant
16    to 18 U.S.C. Section 1332 in that the amount in controversy exceeds $75,000, exclusive
17    of interest, Plaintiff is a citizen of the British Virgin Islands, and Defendants are
18    citizens/residents of the State of California.
19           7.      Venue is proper in this Court on the ground that Defendants reside in this
20    judicial district.
21                               GENERAL FACTUAL ALLEGATIONS
22           8.      Beginning in January 2022 and through October 2022, Plaintiff began
23    extending a series of loans to King Lending. All of the loans from Plaintiff to King
24    Lending were for a similar purpose and took a similar form: Plaintiff would loan King
25    Lending funds which King Lending and King represented to Plaintiff that King Lending
26    was using to loan the same funds to third-party borrowers. The purported loans from
27    King Lending to the third-party borrowers were purportedly secured by various forms of
28    collateral, including but not limited to luxury automobiles, boats, yachts, jewelry,

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1     watches, precious metal coins, and the earnings from guaranteed professional sports
2     contracts. The loans from Plaintiff to King Lending would in turn be secured by the
3     same collateral which purportedly secured the loans from King Lending to the third-
4     party borrowers.
5           9.      Each of the loans from Plaintiff to King Lending was evidenced by a
6     Promissory Note payable by King Lending, as maker, to Plaintiff, as payee. In each of
7     said Promissory Notes, King and King Lending expressly represented that the purpose
8     of the loan from Plaintiff to King Lending was for purposes of making the third-party
9     loan as follows: “Maker is a California Finance Lender and is using all monies to fund a
10    loan. Collateral for said loan is: [collateral identified].”
11           10.    In fact, King Lending’s finance lender license status was ineffective as of
12    April 19, 2022.
13           11.    Each of the Promissory Notes from King Lending as maker to Plaintiff as
14    payee contains an attorneys’ fee clause in the event collection on the note is required,
15    governing law provision applying California law, and default provisions.
16           12.    In total, Plaintiff extended ninety-seven (97) loans to King Lending in the
17    total principal amount of $10,258,500 which were purportedly secured by luxury cars,
18    jewelry, watches, antique precious metal coins, designer handbags, boats, yachts, and
19    earnings from guaranteed sports contracts with representations regarding salary and
20    bonus amounts. In connection with each of the 97 loans from Plaintiff to King Lending,
21    King made various intentionally false written representations regarding the third-party
22    loans, collateral for the third-party loans, and funding of the third-party loans, as
23    detailed herein.
24           13.    Attached hereto as Exhibit “A” is a list of all 97 loans from Plaintiff to
25    King Lending which is incorporated by reference here in full. Each of the 97 loans from
26    Plaintiff to King Lending is identified in this Complaint by reference to the loan number
27    in the first column of the attached Exhibit “A.” For example, “Loan 01” refers to the
28    loan from Plaintiff to King Lending in the amount of $195,000 funded on January 14,

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1     2022, that matured on May 31, 2022, which was purportedly secured by three
2     watches—Audemars Piguet 41mm Royal Oak chronograph watch, rose gold with black
3     dial with rose gold band; Audemars Piguet 41mm Royal Oak chronograph watch, rose
4     gold with white dial with rose gold band; and Richard Mille RM 030 titanium watch,
5     with light blue rubber band.
6               14.    In connection with each of the purported third-party loans which the funds
7     loaned by Plaintiff to King Lending were purportedly being used to fund, King and
8     King Lending provided Plaintiff and its agent and representative, Laurent R. 1 (“L.R.”),
9     with false and fabricated loan documents between King Lending and the purported
10    third-party borrowers, including “Secured Promissory Note,” with name and other
11    identifying information of the third-party borrower redacted.
12              15.    In connection with most of the purported third-party loans which the funds
13    loaned by Plaintiff to King Lending were purportedly being used to fund, King and
14    King Lending provided Plaintiff and L.R. with false and fabricated documents regarding
15    the collateral purportedly securing said loans, including but not limited to title
16    documents, appraisals, and photographs, with name and other identifying information of
17    the third-party borrower redacted.
18              16.    In connection with the purported third-party loans which the funds loaned
19    by Plaintiff to King Lending were purportedly being used to fund and which were
20    secured by guaranteed professional sports contracts, King and King Lending provided
21    Plaintiff and L.R. with false and fabricated copies of the guaranteed professional sports
22    contracts of the third-party borrowers, with name and other identifying information of
23    the third-party borrower and financial information redacted.
24              17.    In connection with many of the purported third-party loans which the funds
25    loaned by Plaintiff to King Lending were purportedly being used to fund, King and
26    King Lending provided Plaintiff and L.R. with purported proof of funding documents
27    which typically consisted of a cashier’s check from King Lending with the purported
28    1
          The full last name of Laurent R. is not included to protect financial and other privacy rights.
                                                              5
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1     third-party borrower’s name redacted. Because the payee name was redacted, Plaintiff
2     could never verify that the funds were actually loaned to the third-party borrower.
3     Plaintiff is informed and believes that these “proof of funds” do not evidence payment
4     to any third-party borrowers and that King and King Lending intentionally provided
5     Plaintiff with these false and mispresented documents.
6           18.    Because King Lending’s finance lender license with the DFPI became
7     inactive April 19, 2022, it was not licensed during the majority of the time that it was a
8     borrower from Plaintiff and purportedly engaging in the third-party loans it falsely
9     represented to Plaintiff.
10          19.    King falsely represented to Plaintiff that King Lending’s finance lender
11    license with the DFPI was only inactive because of an “administrative problem,”
12    however, Plaintiff is informed and believes that it was rendered inactive for other
13    reasons and that King’s statement was an intentional misrepresentation.
14          20.    In total, Plaintiff loaned King Lending the principal amount of
15    $10,258,500.
16          21.    King and King Lending also falsely represented to Plaintiff that the amount
17    of $6,331,580 received by King Lending in loan repayments from third-party borrowers
18    had been “redeployed” to fund purported additional loans between King Lending and
19    third-party borrowers, instead of being repaid to Plaintiff. In fact, as alleged herein,
20    there were no payments made by the any third-party borrowers because there were no
21    third-party borrowers or loans to third-party borrowers.
22          22.    Plaintiff is informed and believes that King and King Lending engaged in a
23    massive fraud on Plaintiff. Plaintiff is informed and believes, and thereon alleges, that
24    there were no third-party loans from King Lending to any third-party borrowers.
25          23.    Plaintiff is informed and believes, and thereon alleges, that King and King
26    Lending fabricated each of the purported third-party loans and all of the documents
27    regarding those loans, funding of the third-party loans, and collateral for those loans.
28          24.    Plaintiff is informed and believes, and thereon alleges, that King spent the

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1     majority of the funds loaned by Plaintiff to King Lending to gamble in Las Vegas, fund
2     an extravagant lifestyle, and for other personal uses by King. Plaintiff is informed and
3     believes that King moved into the Wynn Las Vegas resort and hotel, lived there for six
4     months, and gambled 24/7.
5           25.    King’s ex-husband, Kamran Pahlavi (“Pahlavi”), who has since fled to
6     Morocco, has substantiated Plaintiff’s belief that King engaged in a massive fraud
7     against Plaintiff as alleged herein.
8           26.    The following photographs were sent by King to L.R. and Plaintiff as part
9     of an effort by King to increase Plaintiff’s trust and confidence in King in terms of her
10    connections, lifestyle, and connections to high-profile athletes as part of her fraud and
11    scheme. They are on various pages that are inserted into this Complaint. They show the
12    lavish lifestyle she was living, jewelry, cars, and image she was trying to portray, as well
13    as been a successful California licensed attorney. The photos are four different pictures
14    of King. Moreover, King has recently provided evidence she only has $11.98 to her
15    name. She provided a bank screen shot which is also included in these serious of
16    photographs. King in an email sent on February 9, 2023, is still asking Plaintiff and its
17    principal for more money so she can try and make back the money she has stolen. As of
18    February 9, 2023, King also is still sending fake deals to the Plaintiff and or its agents.
19    King claims she has spent all of the funds and has no money left to her name. King also
20    is crossing state lines to engage in further frauds.
21
22
23
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                                                       7
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1
2
3                                  FIRST CAUSE OF ACTION
4                         (Breach of Contracts Against All Defendants)
5          27.    Plaintiff realleges and incorporates by reference the allegations contained
6    in paragraphs 1 through 26, inclusive, of this Complaint as though fully set forth at
7    length.
8          28.    Except as prevented or excused by the acts or omissions of King and King
9    Lending, Plaintiff has performed all obligations required of it in connection with each of
10   the ninety-seven (97) loans from Plaintiff to King Lending, as identified in Exhibit “A”
11   hereto, and evidenced by the promissory notes from King Lending as maker to Plaintiff
12   as payee.
13         29.    All of the ninety-seven (97) loans from Plaintiff to King Lending have
14   matured, are unpaid by King Lending, and are in default.
15         30.    In total, Plaintiff loaned King Lending the principal amount of $10,258,500
16   as evidenced by the Promissory Notes from King Lending to Plaintiff.
17         31.    King and King Lending falsely represented to Plaintiff that $6,331,580 in
18   loans had been repaid by the third-party borrowers and that money had been
19   “redeployed” to fund additional loans. In fact, there were no loans to any third-party
20   and, therefore, no repayment of any loans to third-parties. King falsely represented to
21   Plaintiff that a total of $19,370,000 had been loaned to third-party borrowers.
22         32.    In connection with Plaintiff’s demands for payment prior to filing this
23   action, King Lending paid Plaintiff $2,000,000 against the interest owed to Plaintiff on
24   the loans.
25         33.    Defendants are in breach of all ninety-seven (97) of their Promissory Notes
26   to Plaintiff by failing to pay all principal and interest due thereon to Plaintiff by the
27   maturity dates and by failing to pay default interest, costs and attorneys’ fees thereafter.
28         34.    As a direct and proximate result of the acts, omissions, and breaches of the

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1    promissory notes by Defendants, as alleged herein, Plaintiff has suffered damages in a
2    specific amount to be determined at trial, but in the amount of at least $10,258,500, plus
3    prejudgment interest at the legal or contract rate.
4          35.    Plaintiff is also entitled to recover attorneys’ fees pursuant to contract.
5                                SECOND CAUSE OF ACTION
6                                (Fraud Against All Defendants)
7          36.    Plaintiff realleges and incorporates by reference the allegations contained
8    in paragraphs 1 through 26, inclusive, of this Complaint as though fully set forth at
9    length.
10         37.    Prior to most of the ninety-seven (97) loans identified in Exhibit “A”
11   hereto, King would send an email to L.R. requesting the loan and regarding the
12   purported details of the loan from King Lending to the third-party borrower and from
13   Plaintiff to King Lending. Those emails would include information, and frequently
14   would include false and fabricated documentation, regarding the purported third-party
15   borrower and the purported collateral. The following are some, but not all, of the email
16   communications from King to L.R. regarding the purported loans:
17                A. Email sent by King to L.R. on January 13, 2022, regarding Loan 01
18                   stating: “Please see attached:
19                   -Security Agreement
20                   -Secured Promissory Note
21                   -Confession of Judgment
22                   -PG
23                   These are the agreements between the lending company and borrower.
24                   Because the borrower is an individual who signed a Confession of
25                   Judgment and the loan is collateralized on the assets, I don't see the
26                   need for a personal guarantee, but will prepare one to be signed just to
27                   be safe. The PG attached is a sample document I'm preparing for
28                   signature tomorrow.”

                                                    13
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1              B. Email sent by King to L.R. on January 18, 2022, regarding Loan 02
2                 stating: “Hi Laurent,
3                 Attached please find the funding confirmation form and copy of the
4                 check remitted to the borrower. We held $5,000 in fees and costs and
5                 upon maturity of your loan, will be settled out 60/40.
6                 I am working on the master agreement and should have the draft sent to
7                 you by tomorrow.
8                 Again, thank you for funding this loan, and will send you an email
9                 tomorrow with the draft agreement.”
10
               C. Email sent by King to L.R. on January 28, 2022, regarding Loan 03
11
                  stating: “Attached please find:
12
                  1. Borrower Docs: Secured Promissory Note, Security Agreement, and
13
                  COJ.
14
                  2. Appraisals: vehicle appraisal and purchase agreement. The watch
15
                  appraisal and boat appraisal are in hard copy received at my office
16
                  yesterday; I will be there later this morning and will send you a copy.
17
                  3. Titles. The only missing title is the Maybach62 (I supplemented it
18
                  with a photo taken by me) - however, the title was dropped off to my
19
                  office yesterday – so I will send you a copy when I get there later this
20
                  morning.
21
                  This morning I will resend a complete packet to you after meeting with
22
                  the borrower for final signatures and funding.
23
                  Solomon is interested in scaling this business, first in New York
24
                  followed by Florida. We had a great conversation and were able to
25
                  identify some key hurdles to scaling, however not insurmountable. Will
26
                  take some planning, but I do think we can take this nationwide.
27
                  Between Kamran and I, you, and Solomon, we may be able to really
28

                                               14
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1                 take over the industry. Exciting stuff!”
2
               D. Email sent by King to L.R. on February 21, 2022, regarding Loan 04
3
                  and Loan 05 stating: “Hi Laurent, [¶] Attached please find the Funding
4
                  Confirmations and the Proof of Funding for the two loans funded.”
5
6              E. Email sent by King to L.R. on March 14, 2022, regarding Loan 08
7                 stating: “It was such a pleasure meeting you this past week. When you
8                 have a chance, please send over the spreadsheet you created - I'd love to
9                 tinker around with it a bit to learn more.
10                If you recall when we met, I got a loan request on a Tiffany stamped
11                Patek. I got the details including confirmation of authenticity, along
12                with the current market value estimate and appraisal from my appraiser.
13                Being that it has the Tiffany stamp, I was told the value can increase 4x.
14                I requested a very conservative value.
15                The guy is looking to borrow $350k by Tuesday, March 15 (I’m
16                assuming it has something to do with tax season!). I have him locked in
17                for $250k (less than requested) at 8% but it's contingent on funding by
18                Tuesday. Oftentimes I will come back at the amount they originally
19                requested and add more interest. ;) But in this case, he is okay with
20                $250k.
21                Attached is the request along with a photo and a video of the watch so
22                that you can also confirm the value.”
23
               F. Email sent by King to L.R. on March 20, 2022, regarding Loan 11
24
                  stating: “I have one last loan for the month – it’s one I first sent to you
25
                  in the very beginning, a coin collection. The borrower paid back the
26
                  funds, and now needs them again. History on this guy is that he makes
27
                  a lot of money, owns a drywall company, and uses cash for
28

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1                 ‘extracurricular’ activities that he doesn’t want his company books to
2                 show (ha). I have known him for a few years and he was a law client of
3                 mine - borrowers often, and has always paid. [¶] He needs the money
4                 tomorrow (3/31) and he agreed to 10% (which is more than the last loan
5                 funded) for a period of 3 months. LTV is =8%. If you're interested, we
6                 would need to fund him by tomorrow, which means you would have to
7                 fund today. If this is too quick for you - no problem! [¶] I likely will not
8                 be looking at any deals next week due to a law conference I am
9                 speaking at, so thought you may like this one. :)”
10
               G. Email sent by King to L.R. on April 7, 2022, regarding Loan 13 stating:
11
                  “Hi Laurent,
12
                  There’s one that cleared due diligence today. It’s small, but pretty good.
13
                  Collateral is a G wagon (photos attached) my guys cleared it this
14
                  morning. I don’t know why someone would pick this color, haha.
15
                  Collateral Value: $300k
16
                  Fire Sale: $220k
17
                  Amount: $65k
18
                  Term: 2 months
19
                  Rate: 15% (so you make 9% on the deal)
20
                  It’s a higher rate because the term is shorter. The borrower is actually a
21
                  friend of mine who is waiting on purchase orders and needs to fund
22
                  payroll. So, he’s not looking to take full equity out, just enough to get
23
                  him by. He has payroll due tomorrow (Friday). So we would need to
24
                  fund immediately. I am gathering the docs, and can send them to you by
25
                  this evening so we can fund in the morning- it’s a good one especially if
26
                  he defaults! The LTV is 30%!”
27
28             H. Email sent by King to L.R. on April 18, 2022, regarding Loan 17 and

                                                16
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1                 Loan 18 stating: “These two cleared with appraisers - they are smaller
2                 than normal, but still good for the portfolio. Funding requested for
3                 today, but I have already prepared them for Tuesday funding. I do not
4                 have a back story on the borrowers, these are referral from my mentor.
5                 [¶] 1. 1902 37.5 Ruble Gold Coin Sev-578 PCGS AU Condition,
6                 Market Value: $65k; Firesale: $35k; Loan Request: $30k… [¶] 2. The
7                 Avengers #1 (Marvel, 1963) CGC NM-9.2 Off-white to white pages,
8                 Comic Book, Market Value: $50k; Firesale: $27k; Loan Request:
9                 $25k…”
10
               I. Email sent by King to L.R. on May 14, 2022, regarding Loan 25 stating:
11
                  “Finally, my favorite and the most secure type of loan deal has finally
12
                  arrived! Lending against guaranteed sports contracts. There is a
13
                  professional hockey player (NHL) who has a guaranteed contract for
14
                  $3m a year. He wants to borrow $500k for 6 months. Because it’s a
15
                  major sports contract our maximum rate we can charge is 6%. Happy to
16
                  offer you 4% (as opposed to 3.6%) of the money so it’s lucrative for
17
                  you.
18
                  How it works is the sports team pays an escrow account monthly and
19
                  we get payment before the player does; thus, because it’s a guaranteed
20
                  contract (doesn’t matter if player gets injured), and because we get paid
21
                  first by the league, it is very secure collateral and no chance for default.
22
                  These are the loans I have been waiting for from mentor.
23
                  Amount: $500k
24
                  Term: 6 months
25
                  Rate: 6%
26
                  Collateral: guaranteed sports contract
27
                  Funding date: Monday, May 16
28

                                                17
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1                 Because you have money with KFL for lending you would need to send
2                 only $255k to fund this one. It’s really my goal type of loan because we
3                 eliminate security issues and resale issues. So if we get this one done,
4                 the league will have us approved to lend to other players. So, it’s a big
5                 deal. And, professional sports lending is really easy to scale! I’m not
6                 allowed to send the actual contract to anyone - but I can send the
7                 agreement that is to be signed by player and the league.
8                 This one makes me very happy and excited. Been working hard to get
9                 to these loans - and finally it’s paying off!”
10
               J. Email sent by King to L.R. on May 23, 2022, regarding Loan 30 stating:
11
                  “I have a request for another one - The borrower is requesting $300k.
12
                  This deal is a different league (MLB). I'm simply notifying you because
13
                  I promised I would. [¶] Please make it clear whether you want to do any
14
                  deals today/tomorrow or hold off until you receive all photos. I cannot
15
                  lose the sports contract deals - they have been my goal for a long time,
16
                  so if you are not funding at this time, need to know asap to make sure I
17
                  can get the deals done with other people.”
18
19             K. Email sent by King to L.R. on May 26, 2022, regarding Loan 28 stating:
20                “Hi Laurent,
21                Both checked out. Ideally, she would like funding by tomorrow, as
22                you’ll see below, if by tomorrow she’s willing to pay a higher interest
23                rate.
24                Attached are photos as you requested- up close for inspection! Watch
25                value at $50k. Box included, she has the Rolex card she’s trying to find
26                but value contemplates no card.
27                The Rolls Ghost is at the shop and valued at $230k.
28                Loan amount: $150k

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1                 Term: 4 months
2                 Rate: 10% if funded tomorrow (Thursday); 8% if Friday.
3                 LTV: 53%
4                 She is a friend of mine and a famous hair extension person for the stars.
5                 Her biggest clients are the Kardashians. She wants to expand the
6                 business and didn’t like the potential investors. She makes good money;
7                 I was her lawyer for a period of time and had access to her books.
8                 Tomorrow we receive $10,500 in interest payments so the amount to
9                 fund is $139,500.00. Sending promissory note in a separate email if
10                you are able to fund tomorrow morning!”
11
               L. Email sent by King to L.R. on February 17, 2022, regarding Loan 07
12
                  requesting a loan in the amount of $200,000 to be secured by a
13
                  Chevrolet Truck valued at $300,000, Chevrolet Cheville valued at
14
                  $295,000, and Ford Roadster valued at $75,000.
15
16             M. Email sent by King to L.R. on February 17, 2022, regarding Loan 04
17                requesting a loan in the amount of $400,000 to be secured by a Tiara
18                F44 boat valued at $900,000.
19
               N. Email sent by King to L.R. on March 27, 2022, regarding Loan 09
20
                  stating: “Attached are the unsigned borrower docs for the $75,000.00
21
                  loan. On Monday, the borrower will sign prior to funding. I will send
22
                  you proof of funding on Monday once completed.”
23
24             O. Email sent by King to L.R. on March 27, 2022, regarding Loan 10
25                stating: “Attached are the unsigned borrower docs for the $120,000.00
26                loan. On Monday, the borrower will sign prior to funding. I will send
27                you proof of funding on Monday.”
28

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1              P. Email sent by King to L.R. on June 14, 2022, regarding Loan 36 stating:
2                 “Attached are photos of collateral for a deal that needs funding by
3                 tomorrow morning. (Wednesday)
4                 Amount: $100,000
5                 Term: 2 months
6                 Rate: 10%
7                 Collateral: AP watch, Rolex watch
8                 The guy is one of my mentor’s referrals- he needs money by tomorrow.
9                 I have the watches and they have been verified.
10                Funding to send this morning: $87,700
11                Currently, we have $12,300 in account. We have loan payoffs that are
12                incoming, but funds won’t be available until Friday. The good news is
13                that I’ve pushed the other deals I will be sending until Monday/Tuesday,
14                so you won’t need to send any to fund the next set of deals.”
15
               Q. Email sent by King to L.R. on May11, 2022, regarding Loan 23 stating:
16
                  “This one checked out. With papers; no box. Guy looking for $65k for 3
17
                  months at 8% (I’ll still give you 6%). He’s looking for funding by
18
                  tomorrow. If you like it, I can send you total for tomorrow. Let me
19
                  know what you think.”
20
21             R. Email sent by King to L.R. on June 27, 2022, regarding Loan 35, Loan
22                41, and Loan 46 stating: “All docs will be there by evening tomorrow
23                for you! Finally got things handled - including the sports contract.
24                Finally got approval on the redacted version. I’ll be on my computer
25                later to finish and share the drive with you. No sense in sending you the
26                link partially done, you will just get constant emails about updates.
27                We have 3 loans on deck that requested funding this past Friday, but I
28                held them off to tomorrow/today (Monday) because you’ll have funds

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1                 in!
2                 Deals:
3                 1. Loan 35 requested another loan.
4                 Amount: $150k
5                 Term: 7 days
6                 Rate: 15%
7                 Collateral: AP white ceramic
8                 Funding: today.
9                 2. NHL contract
10                Amount: $250k
11                Term: 5 months
12                Rate: 7%
13                Player newly drafted, first year, 21 years old, guaranteed contract 2
14                year; bonus is in November for $500k Funding immediately (Monday)
15                3. AP Royal Oak Chronograph, gold with blue face. (See photos
16                attached)
17                …
18                I will fund them this morning.”
19
               S. Email sent by King to L.R. on July 10, 2022, regarding Loan 44, Loan
20
                  54, and Loan 59 A stating: “Current Deals
21
                  Deal 1:
22
                  Loan 44 (the short-term watch) want to renew again - love this one!
23
                  Amount: $150,000
24
                  Deal 2:
25
                  Loan 1 wants to do another loan; however, with the following terms:
26
                  Amount: $195,000
27
                  Term: 3 months
28

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1                 Rate: 10%
2                 Deal 3:
3                 Amount: $25,000
4                 Term: 6 months
5                 Rate: 7%
6                 Collateral: NBA Contract guaranteed 4.5m for 3 years, 21 years old,
7                 Toronto Raptors player. I happened to be at the NBA summer league
8                 games and got this one! Bonus is in January for $500k.
9                 We have a few more I need to review - but these two need funding by
10                today (Monday). I have about 6 for review for Tuesday funding! Five of
11                which come from my mentor.
12                As of tomorrow morning we will have $149,200.00 to use for funding.
13                Spreadsheet to follow. Deals 1 & 3 are the most urgent for Monday
14                morning funding as I am still at the NBA summer league games and I'd
15                like to be able to complete the loan in front of other players ;). Deal 2
16                is urgent, but if you'd like me to push it off until we collect more funds,
17                I am happy to do so.
18                Let me know if you are interested and I'll send the amount to fund for
19                today (Monday) funding.
20                AMOUNT TO FUND:
21                Deal 2 & 3 TOTAL TO FUND: $250,800.00
22                Deal 1, 2 and 3 TOTAL TO FUND: $445,800.00”
23
               T. Email sent by King to L.R. on June 3, 2022, regarding Loan 32 stating:
24
                  “This borrower has an urgent need to be funded tomorrow (today),
25
                  Friday.
26
                  Collateral:
27
                  2019 Porsche Panamera GTS (Firesale: $90k) AP Chrono (pics
28

                                                22
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1                    attached) (Firesale: $45k)
2                    Amount: $65,000
3                    Term: 2 months
4                    Rate: 12%
5                    Borrower is waiting for a purchase order to be paid and has payroll due
6                    today.
7                    If you’re able to fund this would be great. He needs it today to pay
8                    employees. All items checked out. Watch has no box, but papers.”
9          38.    The information contained in the emails from King to Plaintiff, identified
10   and quoted in paragraph 37, above, among others, was false. The representations by
11   King to Plaintiff contained in the emails identified and quoted in paragraph 37, above,
12   regarding the existence of the third-party loans, collateral for the loans, funding of the
13   third-party loans, and descriptions of the third-party borrowers were false.
14         39.    King made the representations to Plaintiff contained in the emails identified
15   and quoted in paragraph 37, above, among others, with knowledge of their falsity.
16         40.    King made the representations to Plaintiff contained in the emails identified
17   and quoted in paragraph 37, above, among others, with the intent to deceive and defraud
18   Plaintiff and to cause Plaintiff to loan King Lending and King over $10,000,000 in
19   principal.
20         41.    Plaintiff justifiably relied on the representations made by King to Plaintiff
21   contained in the emails identified and quoted in paragraph 37, above, among others, by
22   loaning Defendants $10,258,500 in principal.
23         42.    King intentionally misrepresented to Plaintiff that $6,331,580 in loans had
24   been repaid by the third-party borrowers and that money had been “redeployed” to fund
25   additional loans. King made this false and fraudulent representation knowing it was
26   false and with intent to induce reliance by Plaintiff and to cause Plaintiff to continue
27   funding additional loans and refrain from pursuing legal action. Plaintiff justifiably
28   relied on this false representation by continuing to fund additional loans.

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1          43.      In addition, on or about the following dates, in addition to at other times,
2    King intentionally misrepresented to Plaintiff that payments had been made by third-
3    party borrowers on the purported third-party loans by providing Plaintiff and LR with
4    fraudulent, falsified, and altered King Lending bank statements: on July 2, 2022, with
5    the April 2022 bank statement; on July 6, 2022 with June 2022 bank statement; and on
6    September 8, 2022 with August 2022 bank statements. King uploaded fraudulent and
7    falsified bank statements where she altered the bank statements to show deposits/
8    payments by third-party borrowers that were in fact never made. King would upload
9    these fraudulent, falsified, and altered bank statements into a Google drive shared with
10   Plaintiff and LR and notify Plaintiff and LR that she had loaded the bank statements to
11   show purported payments by third-party borrowers.
12         44.      King and King Lending made the misrepresentations to Plaintiff identified
13   in paragraph 43, above, with knowledge of their falsity and with intent to induce
14   reliance by Plaintiff and to cause Plaintiff to continue funding additional loans and
15   refrain from pursuing legal action. Plaintiff justifiably relied on this false representation
16   by continuing to fund additional loans.
17         45.      As a direct and proximate result of Defendants’ fraud and tortious conduct,
18   Plaintiff has been damaged in an amount to be proven at trial, but in the amount of at
19   least $10,258,500.
20         46.      In doing the things herein alleged, Defendants acted willfully, maliciously,
21   and with the intent to cause injury and harm to Plaintiff. Defendants are therefore guilty
22   of malice and/or fraud in conscious disregard of Plaintiff’s rights, thereby warranting an
23   assessment of punitive and exemplary damages in an amount appropriate to punish
24   Defendants, and each of them, and deter them and others from engaging in similar
25   misconduct.
26                                  THIRD CAUSE OF ACTION
27               (Civil Theft, Cal. Penal Code Section 496 Against All Defendants)
28         47.         Plaintiff realleges and incorporates by reference the allegations

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1    contained in paragraphs 1 through 46, inclusive, of this Complaint as though fully set
2    forth at length.
3          48.          As a result of King and King Lending’s conduct as alleged herein, they
4    have violated California Penal Code, section 496 (“Section 496”).
5          49.          Section 496, provides, “(a) [e]very person who buys or receives any
6    property that has been stolen or that has been obtained in any manner constituting theft
7    or extortion, knowing the property to be so stolen or obtained, or who conceals, sells,
8    withholds, or aids in concealing, selling, or withholding any property from the owner,
9    knowing the property to be so stolen or obtained, shall be punished by imprisonment in
10   a county jail for not more than one year, or imprisonment pursuant to subdivision (h) of
11   Section 1170.... [¶] (c) Any person who has been injured by a violation of subdivision
12   (a) or (b) may bring an action for three times the amount of actual damages, if any,
13   sustained by the plaintiff, costs of suit, and reasonable attorney’s fees.”
14         50.          King and King Lending have obtained and received property from
15   Plaintiff, the $10,258,500, in a manner constituting “theft,” as that term is defined in
16   California Penal Code, section 484(a), and case law interpreting same. California Penal
17   Code, section 484(a), provides: “[e]very person who shall feloniously steal, take, carry,
18   lead, or drive away the personal property of another, or who shall fraudulently
19   appropriate property which has been entrusted to him or her, or who shall knowingly
20   and designedly, by any false or fraudulently representation or pretense, defraud any
21   other person of money, labor or real or personal property, or who causes or procures
22   others to report falsely of his or her wealth or mercantile character and by thus imposing
23   upon any person, obtains credit and thereby fraudulentlyly gets or obtains possession of
24   money, or property or obtains the labor or service of another, is guilty of theft.”
25         51.          As a direct and proximate result of Defendants’ civil theft, Plaintiff has
26   been damaged in an amount to be proven at trial, but at least $10,258,500.
27         52.          Pursuant to California Penal Code, section 496(c), Plaintiff is also
28   entitled to recover treble damages from Defendants.

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1          53.          Pursuant to California Penal Code, section 496(c), Plaintiff is also
2    entitled to recover attorneys’ fees from Defendants.
3          54.          In doing the things herein alleged, Defendants acted willfully,
4    maliciously, and with the intent to cause injury and harm to Plaintiff. Defendants are
5    therefore guilty of malice and/or fraud in conscious disregard of Plaintiff’s rights,
6    thereby warranting an assessment of punitive and exemplary damages in an amount
7    appropriate to punish Defendants, and each of them, and deter them and others from
8    engaging in similar misconduct.
9                                  FOURTH CAUSE OF ACTION
10                            (Account Stated Against All Defendants)
11         55.          Plaintiff realleges and incorporates by reference the allegations
12   contained in paragraphs 1 through 26, inclusive, of this Complaint as though fully set
13   forth at length.
14         56.          King and King Lending owe Plaintiff at least $10,258,500 from the
15   ninety-seven (97) loans made by Plaintiff to King Lending.
16         57.          Plaintiff and Defendants, by both words and conduct, have agreed that
17   the amount that Plaintiff alleges to be due from Defendants to Plaintiff, $10,258,500
18   plus interest, is the correct amount owed.
19         58.          Defendants, by words and conduct, have promised to pay $10,258,500,
20   plus interest and other amounts due, to Plaintiff.
21         59.          Defendants have not paid Plaintiff the $10,258,500, plus interest and
22   other amounts, owed under this account.
23         60.          Defendants owe Plaintiff the amount of $10,258,500, plus interest.
24                                     PRAYER FOR RELIEF
25         WHEREFORE, Plaintiff prays for judgment against Defendants, jointly and
26   severally, as follows:
27         1.     For damages in the amount to be proven at trial, but in the amount of at
28   least $10,258,500;

                                                     26
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1          2.     For pre-judgment interest at the legal rate or the rate set forth in the
2    contracts;
3          3.     For post-judgment interest at the legal rate;
4          4.     For treble damages pursuant to California Penal Code, section 496(c);
5          5.     For attorneys’ fees pursuant to contract;
6          6.     For attorneys’ fees pursuant to California Penal Code, section 496(c);
7          7.     For punitive damages;
8          8.     For court costs; and
9          9.     For such other and further relief as the Court deems just and proper.
10
     DATED: February 10, 2023                   LAW OFFICES OF RONALD RICHARDS &
11                                              ASSOCIATES, A.P.C.
12
13                                              By:    / s / Ronald N. Richards
                                                      Ronald N. Richards
14                                              Attorneys for Plaintiff LDR
                                                INTERNATIONAL LIMITED
15
16   DATED: February 10, 2023                   LAW OFFICES OF GEOFFREY LONG,
                                                A.P.C.
17
18
                                                By:    / s / Geoffrey S. Long
19                                                    Geoffrey S. Long
                                                Attorneys for Plaintiff LDR
20                                              INTERNATIONAL LIMITED
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1                                         JURY DEMAND
2          Plaintiff LDR INTERNATIONAL LIMITED hereby demands trial by jury on all
3    causes of action as to which it is entitled to jury.
4
     DATED: February 10, 2023                     LAW OFFICES OF RONALD RICHARDS &
5                                                 ASSOCIATES, A.P.C.
6
7                                                 By:    / s / Ronald N. Richards
                                                        Ronald N. Richards
8                                                 Attorneys for Plaintiff LDR
                                                  INTERNATIONAL LIMITED
9
10   DATED: February 10, 2023                     LAW OFFICES OF GEOFFREY LONG,
                                                  A.P.C.
11
12
                                                  By:    / s / Geoffrey S. Long
13                                                      Geoffrey S. Long
                                                  Attorneys for Plaintiff LDR
14                                                INTERNATIONAL LIMITED
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                             EXHIBIT “A”
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                                                                                    DURATION
Loan No.                    Purported Collateral                     AMOUNT                    DATE FUNDED   MATURITY DATE
                                                                                    (MONTHS)
           AP Royal Oak Watch Gold /Black Index
Loan 01    AP Royal Oak Chronograph Rose Gold White Index        $      195,000        4        01/14/2022    05/31/2022
           Richard Mille RM 030
           1979 Ferrari 308 GTS
           1896 Ferrari 328 GTB
           2003 Chevrolet Corvette
Loan 02                                                          $      235,000        6        01/18/2022    07/18/2022
           2010 Rolls Royce Ghost
           2014 Aston Martin Vanquish
           2020 Porsche Taycan 4S
           2006 SeaRay
Loan 03    Two-Tone Date Just                                    $      175,000        4        01/31/2022    05/31/2022
           2007 Maybach
Loan 04    2017 Tiara F44                                        $      400,000        4        02/18/2022    06/18/2022
Loan 05    Cartier Jewelry Lot                                   $      150,000        3        02/18/2022    05/18/2022
           Hermès Birkin Bag 35; White Himalayan
Loan 06                                                          $      100,000        4        03/04/2022    07/04/2022
           Rolex Daytona Rose Gold
           1956 Chevrolet Truck
Loan 07                                                          $      150,000        3        03/04/2022    06/04/2022
           1971 Chevrolet Cheville
Loan 08    Patek Phillipe Nautilus, Rose Gold, Tiffany Stamp     $      350,000        3        03/15/2022    06/14/2022
           2021 MBZ S580
Loan 09                                                          $         75,000      3        03/28/2022    06/29/2022
           Rolex Yacht Master Yellow Gold
           Rolex Oyster Perp, Stainless Steel
Loan 10    Diamond Ring, Pear, 5.02k                             $      120,000        4        03/28/2022    07/28/2022
           Diamond Ring, Yellow Diamond, 8.74k
Loan 11    Coins                                                 $      150,000        3        04/01/2022    07/01/2022
           Chanel Classic Bag (Beige)
           Chanel Classic Bag (Black)
           Chanel Rocket Bag
           Cartier Monsieur Watch, Rose Gold, Cartier Tank
           Francaise, Rose Gold, Cartier Juste Un Clous
Loan 12                                                          $         95,000      4        04/06/2022    08/06/2022
           Bracelet, Rose Gold w/ Diamonds, Cartier Love
           Bracelet, Rose Gold w/ Diamonds, Cartier Love Ring,
           White Gold w/ Diamonds
           Cartier Trinity Ring, w/ Diamonds, Cartier Trinity
           Bracelet, w/Diamonds
Loan 13    Mercedes Benz G Class, 63 AMG                         $         65,000      2        04/08/2022    06/08/2022
Loan 14    2019 Rolls Royce Dawn                                 $      100,000        3        04/11/2022    07/11/2022
Loan 15    Patek Phillipe Nautilus Watch, Platinum and Ruby      $      150,000        4        04/11/2022    08/11/2022
Loan 16    Ruby Ring w/ Diamonds, 10.04k                         $         80,000      2        04/15/2022    06/15/2022
Loan 17    Avengers Comic Book                                   $         25,000      3        04/19/2022    07/19/2022
Loan 18    1902 Ruble Gold Coin                                  $         30,000      3        04/19/2022    07/19/2022
Loan 19    Van Cleef & Arpels Ruby/Diamond Bracelet              $         75,000      3        04/26/2022    07/26/2022
Loan 20    Rolex Daytona, Platinum Ice Blue Face                 $      100,000        4        04/26/2022    08/26/2022
Loan 21    Lamborghini Aventador                                 $      200,000        3        04/27/2022    07/27/2022
           Audemars Piguet Royal Oak, Extra Thin, Black
Loan 22                                                          $      150,000        3        05/04/2022    08/05/2022
           Ceramic
Loan 23    Rolex Rainbow Watch                                   $         55,000      3        05/12/2022    08/12/2022
           Audemars Piguet Royal Oak Offshore Chronograph
Loan 24    Titanium                                              $         40,000      3        05/12/2022    08/12/2022
           Audemars Piguet Royal Oak Offshore Ghost
Loan 25    NHL Sports Contract                                   $      500,000        6        05/16/2022    10/17/2022
Loan 26    NHL Sports Contract                                   $      200,000        4        05/24/2022    09/25/2022
Loan 27    MLB Sports Contract                                   $      250,000        6        05/24/2022    10/25/2022
           Rolex Day Date II Rose Gold 41mm, Diamond Dial
Loan 28                                                          $      150,000        4        05/26/2022    09/25/2022
           2018 Rolls Royce Ghost
           2016 Aston Martin Vanquish (Silver)
Loan 29                                                          $      100,000        5        05/31/2022    10/31/2022
           AP Rose Gold Chronograph Watch
Loan 30    MLB Sports Contract                                   $      300,000        3        05/31/2022    08/31/2022
Loan 31    NHL Contract                                          $      100,000        4        06/01/2022    10/01/2022

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            AP Steel Royal Oak Chronograph Watch
 Loan 32                                                     $         65,000       2        06/03/2022   08/03/2022
            2020 Porsche Panamera GTS
 Loan 33    NHL Contract                                     $     500,000          4        06/10/2022   10/10/2022
 Loan 34    2022 Porsche Taycan 4s                           $         75,000       6        06/10/2022   12/10/2022
 Loan 35    AP Royal Oak White Ceramic 1st                   $     150,000      0 (7 days)   06/13/2022   06/21/2022
 Loan 36    Rolex Rose Gold Day Date II                      $     100,000          2        06/15/2022   08/16/2022
 Loan 37    MBZ G 63 (Matte Black) 2021                      $     100,000          4        06/20/2022   10/21/2022
            Hermes Birkin, So Matte, Alligator
 Loan 38                                                     $     150,000          4        06/20/2022   10/21/2022
            Piaget Limelight Diamond Watch
 Loan 39    MBZ G 63 (Red)                                   $     100,000          4        06/20/2022   10/21/2022
 Loan 40    NHL Sports Contract                              $     200,000          4        06/20/2022   10/21/2022
 Loan 41    MLSoccer Sports Contract                         $     500,000          6        06/22/2022   12/21/2022
 Loan 42    Patek 5711 Jumbo Rose Gold/Brown dial            $     100,000          3        06/24/2022   09/24/2022
 Loan 43    AP Royal Oak White Gold Frosted/Purple Dial      $         75,000       2        06/24/2022   08/24/2022
 Loan 44    AP Royal Oak White Ceramic 2nd                   $     150,000      0 (7 days)   06/27/2022   07/05/2022
 Loan 45    NFL Contract                                     $     250,000          5        06/27/2022   11/27/2022
 Loan 46    AP Royal Oak Chronograph Gold, with Blue dial    $         75,000       3        06/27/2022   09/27/2022
 Loan 47    2017 Tiara F44                                   $     400,000          4        07/07/2022   11/07/2022
            2021 MBZ S580
 Loan 48                                                     $         75,000       3        07/07/2022   10/06/2022
            Rolex Yacht Master Yellow Gold
 Loan 49    Richard Mille Watch                              $     100,000          2        07/07/2022   09/07/2022
 Loan 50    NBA Sports Contract                              $     350,000          5        07/08/2022   12/08/2022
 Loan 51    2005 Ford GT                                     $     200,000          3        07/08/2022   10/08/2022
 Loan 52    AP Royal Oak White Ceramic 3rd                   $     150,000      0 (7 days)   07/11/2022   07/19/2022
 Laon 53    NBA Contract                                     $     250,000          6        07/13/2022   01/13/2023
            AP Royal Oak Watch Gold /Black Index
 Loan 54    AP Royal Oak Chronograph Rose Gold White Index   $     195,000          3        07/16/2022   10/16/2022
            Richard Mille RM 030
 Loan 55    NBA Sports Contract 45901                        $     200,000          6        07/16/2022   01/16/2023
            Hermès Birkin Bag 35; White Himalayan
 Loan 56                                                     $     100,000          4        07/22/2022   11/22/2022
            Rolex Daytona Rose Gold
 Loan 57    2019 Rolls Royce Dawn                            $     100,000          3        07/22/2022   10/22/2022
 Loan 58    2019 Ferrari 488 Spider                          $     150,000          3        07/22/2022   10/22/2022
Loan 59 A   NBA Contract: 45992                              $     250,000          6        07/22/2022   01/22/2023
Loan 59 B   NBA Contract 45919(b)                            $     200,000          6        07/22/2022   01/22/2023
 Loan 60    NFL Contract 900173                              $     350,000          5        07/22/2022   12/22/2022
 Loan 61    NBA Contract 647007                              $     250,000          5        07/25/2022   12/28/2022
 Loan 62    NFL Contract: 900173                             $     350,000          5        07/28/2022   12/28/2022
 Loan 63    NBA Contract: 647007                             $     200,000          5        07/28/2022   12/28/2022
 Loan 64    AP Royal Oak White Ceramic 4rth                  $     150,000       10 days     07/28/2022   08/05/2022
 Loan 65    Lamborghini Aventador                            $     200,000          3        07/28/2022   10/28/2022
 Loan 66    NBA Contract: 647972                             $     250,000          5        08/03/2022   01/03/2023
 Loan 67    Rolls Royce Cullinan                             $     150,000          3        08/03/2022   11/03/2022
 Loan 68    Rolex Daytona [White Dial/Black Chronograph]     $         50,000       3        08/04/2022   11/04/2022
 Loan 69    AP Royal Oak [Gold Frosted]                      $         50,000    14 days     08/10/2022   08/24/2022
 Loan 70    NBA Contract                                     $     300,000          5        08/10/2022   01/10/2023
 Loan 71    NBA Contract                                     $     250,000          5        08/12/2022   01/10/2023
            Audemars Piguet Royal Oak Tourbillon
 Loan 72                                                     $     150,000          2        08/16/2022   10/16/2022
            [Extra Thin, Black Ceramic]
            Audemars Piguet Royal Oak Tourbillon
 Loan 73                                                     $     150,000       10 days     08/16/2022   08/23/2022
            [White Ceramic]
 Loan 74    MLB Contract 7NN1C3                              $     300,000          4        08/16/2022   12/16/2022
 Loan 75    NFL Contract: 944301                             $     250,000          5        08/16/2022   01/16/2023
            Tiffany's Diamond Engagement Ring
 Loan 76                                                     $     300,000          3        08/18/2022   11/18/2022
            [8.4 carats, D Color, Flawless]
 Loan 77    2018 Rolls Royce Phantom                         $     175,000          3        08/23/2022   11/23/2022
 Loan 78    NBA Contract 788634                              $     250,000          4        08/23/2022   12/23/2022

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Loan 79    MLS Contract LA GALAXY 629                            $     250,000          5         08/23/2022   01/23/2023
Loan 80    1979 Ferrari 308 GTS                                  $     110,000          3         08/29/2022   11/29/2022
Loan 81    2021 BMW M6 Convertible                               $      50,000          3         08/29/2022   11/29/2022
Loan 82    NBA Contract                                          $     250,000          4         08/29/2022   12/29/2022
           Patek Philippe Nautilus (Blue Dial) Rolex Rose Gold
Loan 83                                                          $     100,000          2         08/29/2022   10/29/2022
           Day Date II
Loan 84    NFL Sports Contract                                   $     350,000          4         09/09/2022   01/09/2022
Loan 85    Aston Martin DBS                                      $     150,000          4         09/09/2022   01/09/2022
Loan 86    Patek Philipe Nautilus Watch, Platinum Ruby (2nd)     $     200,000          3         09/12/2022   12/12/2022
Loan 87    Audemars Piguet Royal Oak Tourbillon                  $     150,000      0 (14 days)   09/15/2022   09/30/2022
Loan 88    MLS Sports Contract ID: 607                           $     250,000          5         09/19/2022   02/19/2023
Loan 89    Bentley Batayaga                                      $     150,000          3         09/20/2022   12/20/2022
Loan 90    NBA Clippers Contract                                 $     500,000          4         10/05/2022   02/05/2023
Loan 91    Commercial Building                                   $     350,000          3         10/05/2022   01/05/2023
Loan 92    Aston Martin DB4 1961                                 $     450,000          3         10/05/2022   01/05/2023
Loan 93    Audemars Piguet Royal Oak Double Balance Gold         $         80,000       3         10/07/2022   01/07/2023
Loan 94    Patek 5711 Jumbo Rose Gold/Brown dial                 $         80,000       3         10/07/2022   01/07/2023
Loan 95    NFL Sport Contract                                    $     500,000          4         10/12/2022   2/12/2023
Loan 96    NBA Sport Contract                                    $     350,000          4         10/12/2022   2/12/2023
Loan 97    MLB Sport Contract                                    $     750,000          4         10/12/2022   2/12/2023




                                                                 0000003
